Case: 1:16-cv-11152 Document #: 63 Filed: 12/01/17 Page 1 of 5 PagelD #:509

_IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
BRENDA BROWN, )
Plaintiff, Civil Action No.: 1:16-cv-11152
Vv. Judge Marvin E. Aspen
KELLY SERVICES, INC, ' Magistrate Judge Sheila M. Finnegan
Defendant.

REPLY BRIEF IN SUPPORT OF
DEFENDANT’S MOTION TO SET DISPOSITIVE MOTION FILING DEADLINE OR.
IN THE ALTERNATIVE, DEEM SUMMARY JUDGMENT MOTION TIMELY

 

Plaintiff's response ignores counsels’ prior discussion about setting a dispositive motion
deadline during the Rule 26 conference held in February 2017 (Defendant’s Exhibit B to Motion,
February 24, 2017 email from Marshall Burt) to assert that defense counsel had no reason to believe
a dispositive motion deadline would be set in this matter. The issue of establishing a deadline was
discussed between counsel but was never set by the Court. It was counsel’s belief that the Court
would set a deadline to address the subject previously discussed between counsel. Asa result, he did
not believe that the deadline of Rule 56(b) would control in this matter. Plaintiffs counsel’s
contention that he was unaware of Defendant’s intention to file a motion for summary judgment
because it was not raised at the August 24" status conference is also untenable because his own email

indicates he was aware of the intention to file a dispositive motion six months prior to the August

 
Case: 1:16-cv-11152 Document #: 63 Filed: 12/01/17 Page 2 of 5 PagelD #:510

24" conference. The undersigned acknowledged in Defendant’s motion that absent a date set by this
Court the deadline of Rule 56(b) would apply, which is why the instant Motion was filed.

Plaintiff's Response fails to acknowledge the Supreme Court’s holding that the determination
of excusable neglect is an equitable one and nowhere discusses the circumstances to be considered
under Pioneer Investment Services Co v Brunswick Associates Limited Partnership, 507 U.S. 380,
395, 113 S.Ct. 1489, 1498, 123 L.Ed.2d 74 (1993). Instead, Plaintiff cites Prizevoits v Ind. Bell Tel.
Co., 76 F.3d 132 (7" Cir. 1995), to assert that Defendant’s Motion should be denied. First,
Prizevoits involved a request to extend a deadline under Rule 59(e). The court noted that Rule
56(b)(2) precludes any extension of time of deadlines for specific rules, including Rule 59(e), so the
court lacked the power to grant an extension. Second, the court was critical of the fact that the party
seeking the extension filed a motion for the extension to file a Rule 59(e) motion but did not file the
Rule 59(e) motion. Here, Defendant’s Summary Judgment Motion and is fully briefed. Defendant
submits that, unlike Prizevoits, this case does not involve a failure to read the federal rules. The
timing of the filing of the summary judgment motion was the result of counsel’s belief, albeit
mistaken, that the Court would set a dispositive motion deadline since the issue was previously
discussed between counsel. Moreover, the reason for the delay is only one factor in the analysis of
excusable neglect under Pioneer Investment Services, not the only factor.

Plaintiff next asserts that counsel’s failure to obtain deposition transcripts for the Kelly
employees earlier shows a lack of diligence. The argument is based on a false premise because it
assumes counsel was proceeding under the belief that the summary judgment motion was due in
accordance with Rule 56(b). As already explained, the undersigned believed the Court would set

a deadline date and was not operating under the belief the deadline was August 31, 2017. Thus, the

 
Case: 1:16-cv-11152 Document #: 63 Filed: 12/01/17 Page 3 of 5 PagelD #:511

timing of when the transcripts were sought has nothing to do with a lack of diligence to comply with
Rule 56(b). In addition, counsel’s email from August 29", attached as Exhibit A to Defendant’s
Motion, references counsels’ prior discussion about the filing of a dispositive motion and indicates
that counsel looked for the transcripts a few weeks prior, which would be around August 15".
Tammy Hink’s deposition was taken on August 1“. Defendant submits that looking for a transcript
two weeks after it was taken does not show a lack of diligence that would support the denial of
Defendant’s Motion.

Plaintiffnext claims she has been prejudiced by responding to the motion and preparing trial
materials required by the Court. The claim that Plaintiff has been forced to engage in trial
preparation as a result of the delay is simply incorrect. The Court’s orders regarding trial materials
pre-date the deadline for filing a summary judgment motion under Rule 56(b). The proposed pretrial
order submitted in August was pursuant to an Order entered in April (Dkt # 31). Similarly, the
submission of jury instructions, voir dire, verdict forms, and a statement of the law were pursuant
to the Court’s August 28" Order (Dkt # 39), also prior to the Rule 56(b) deadline. The delay in filing
the dispositive motion from August 31 to September 18 had no impact on the trial materials that
have been prepared and cannot be considered prejudicial to the Plaintiff. The 18 day delay should
not result in a delay of this matter. The motion was fully briefed on October 27, 2017 and no trial
date has been set in this matter.

The potential prejudice in this matter relates to the judicial economy of addressing
Defendant’s Motion on its merits. Plaintiff's retaliation claim requires notice of the protected
activity by the individual making the adverse employment decision because absent such knowledge

there can be no intent to retaliate. Tomanovich v. City of Indianapolis, 457 F.3d 656, 668-669 (7th

 
Case: 1:16-cv-11152 Document #: 63 Filed: 12/01/17 Page 4 of 5 PagelD #:512

Cir.2006). The motion is fully brief and may resolve this matter without the need for trial
preparation by the parties and tying up the Court to conduct an unnecessary trial.

As held by the Supreme Court in Pioneer Investment Services Co., the issue of excusable
neglect is an equitable one and Defendant submits that counsel at all times acted in good faith, that
the 18 day delay in the filing of the Motion does not prejudice Plaintiff, and should not impact the
judicial proceedings.

WHEREFORE, Defendant respectfully requests that this Honorable Court grant this Motion
and set a deadline for the filing of dispositive motions. In the alternative, if the Court believes the
deadline set forth in Rule 56(b) applies in this case, Defendant respectfully requests that the Court

extend the deadline for filing dispositive motions 18 days to the date Defendant’s Motion was filed.
Dated this 1** day of December, 2017.

/s/Rick J. Patterson

Rick J. Patterson (Pro Hac Vice)

POTTER, DeAGOSTINO, O’DEA & PATTERSON
2701 Cambridge Court, Suite 223

Auburn Hills, Michigan 48326

248.377.1700 p . 248.377.0051 f
rjpatterson@potterlaw.com

/s/Angela M. Sekerka

Angela M. Sekerka

WILSON ELSER MOSKOWITZ EDELMAN & DICKER LLP
55 West Monroe Street, Suite 3800

Chicago, Illinois 60603-5016

312.704.0550 p / 312.704.1522 f
angela.sekerka@wilsonelser.com

ATTORNEYS FOR DEFENDANT KELLY SERVICES, INC.

 
Case: 1:16-cv-11152 Document #: 63 Filed: 12/01/17 Page 5 of 5 PagelD #:513

CERTIFICATE OF SERVICE

The undersigned attorney hereby certifies that on December 1, 2017, he caused the foregoing
pleading to be filed with the court by electronic filing protocols using the CM/ECF system, and that
a copy of the same will therefore be electronically served upon all attorneys of record registered with
the court’s CM/ECF system.

/s/RICK J. PATTERSON

 
